






In The



Court of Appeals



Ninth District of Texas at Beaumont


____________________



NO. 09-07-333 CR


____________________



JACKIE LYNN LONG, JR., Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 98823






MEMORANDUM OPINION


	Jackie Lynn Long, Jr. was convicted and sentenced on an indictment for burglary of
a habitation.  Long filed a notice of appeal on June 20, 2007.  The trial court entered a
certification of the defendant's right to appeal in which the court certified that this is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P. 25.2(a)(2).  The
trial court's certification has been provided to the Court of Appeals by the district clerk.

	On June 26, 2007, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a part
of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been supplemented
with an amended certification.

	Because a certification that shows the defendant has the right of appeal has not been
made part of the record, the appeal must be dismissed.  See Tex. R. App. P. 25.2(d). 
Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.	




						 _____________________________

							STEVE McKEITHEN

							         Chief Justice

	


Opinion Delivered August 1, 2007

Do Not Publish


Before McKeithen, C.J., Gaultney and Kreger, JJ.


